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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
JEFFREY M. GOLDMAN,

                 Plaintiff,
                                                           FIRST AMENDED COMPLAINT
                       v.
                                                           DEMAND FOR JURY TRIAL
SOL GOLDMAN INVESTMENTS LLC,
SOLIL MANAGEMENT, LLC and JANE
H. GOLDMAN,

                   Defendants.
-------------------------------------------------------x




        Plaintiff Jeffrey M. Goldman alleges as follows:

                                              INTRODUCTION

        1.       Plaintiff Jeffrey M. Goldman dutifully served Solil Management, LLC; Sol

Goldman Investment LLC; and the whims of Jane H. Goldman for nearly 20 years.

        2.       At 69 years old, Plaintiff Goldman was one of Defendants’ most successful

attorneys on a team that represents Defendants in many hundreds of housing court cases each

year.

        3.       When Covid-19 shut down the courthouses, and most of New York City, Plaintiff

Goldman continued working from home and advocating for Defendants.
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        4.      But when Plaintiff Goldman informed Defendants that his underlying health

conditions made returning to the office potentially life-threatening, Defendants terminated him

for his age and perceived disability.

        5.      Defendants terminated Plaintiff Goldman for not being able to physically appear

in court at a time when all housing court appearances were being conducted remotely anyway.

To date, all housing court proceedings continue to be held remotely.

        6.      After two decades of dedicated service, Defendants left Plaintiff Goldman,

without a job and without health insurance at nearly 70 years old in the midst of a deadly

pandemic.

                                 JURISDICTION AND VENUE

        7.      Plaintiff Jeffrey M. Goldman brings this action against Defendant Sol Goldman

Investment LLC, Solil Management LLC, and Defendant Jane H. Goldman, alleging claims of

discrimination in violation of the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C.

§§ 621 et seq.; the New York State Human Rights Law (“NYSHRL”); N.Y. Exec. Law §§ 290,

et seq. and the New York City Human Rights Law (“NYCHRL”), N.Y. Admin. Code §§8-101 et

seq.

        8.      This Court has diversity jurisdiction over Plaintiff’s claims under 28 U.S.C. §

1332, as Plaintiff is a resident of New Jersey and Defendants are residents of New York, and the

value of Plaintiff’s claims exceeds $75,000.

        9.      Venue is proper in this District because Defendants conduct business in this

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.

                                         THE PARTIES




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       10.     Defendant Sol Goldman Investments LLC (“Defendant SGI” or “SGI”) is a New

York limited liability company with a place of business at 1185 6th Avenue, New York, New

York. Upon information and belief, Defendant SGI makes all business decisions for a network of

corporations that own real estate throughout New York City. Upon information and belief,

Defendant SGI is jointly owned by a group of trusts and the Sol Goldman Estate, all of which are

co-directed by Defendant Jane Goldman and her brother Allen H. Goldman.

       11.     Defendant Solil Management LLC (“Defendant Solil”) is a New York limited

liability company with a place of business at 1185 6th Avenue, New York, New York. Upon

information and belief, Defendant Jane Goldman directs the day-to-day operations of Defendant

Solil. Defendant Solil is a payroll company set up to pay the salaries for all of Defendant SGI’s

employees and all of the employees of Defendant SGI’s numerous real estate properties.

       12.     Defendant SGI and Defendant Solil, collectively, referred to herein as the

“Corporate Defendants.”

       13.     Jane H. Goldman (“Defendant Jane Goldman”) is an individual co-owner and

operator of Defendant SGI and Defendant Solil. Defendant Jane Goldman, along with Allen H.

Goldman, personally controls the day-to-day business of the Corporate Defendants. Defendant

Jane Goldman controls when, where and how work is done for the Corporate Defendants and has

the power to hire and fire employees of the Corporate Defendants. Defendant Jane Goldman is a

resident of New York.

       14.     Plaintiff Jeff Goldman (“Plaintiff Goldman” or “Plaintiff”) resides in Paramus,

New Jersey and was an employee of Defendants from June of 2000 until his wrongful

termination on June 24, 2020.

                                             FACTS




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          15.   Since June of 2000, Plaintiff Goldman worked for Defendants as an attorney

advocating the claims of Defendants in connection with Defendants’ hundreds of commercial

and residential real estate properties throughout New York City.

          16.   Plaintiff Goldman served as one of the Corporate Defendants’ in-house attorneys

under the supervision of Defendant Jane Goldman and Defendants’ General Counsel, Judith M.

Brener.

          17.   Plaintiff Goldman’s responsibilities included representing Defendants, primarily

Defendant SGI and the hundreds of properties it owns, in a wide array of legal contexts. Plaintiff

advocated for the Defendants as petitioners in housing court proceedings involving nonpayment

of rent, “use and occupancy” claims, and holdover proceedings in rent-regulated and free market

properties. He defended the Defendants in proceedings commenced against them by the City of

New York or individual tenants in connection with the conditions in Defendants’ properties. In

addition, Plaintiff represented Defendants in Criminal Court proceedings with respect to New

York City building and fire codes. Further, Plaintiff represented Defendants in administrative,

civil, and appellate proceedings.

          18.   Throughout Plaintiff’s tenure, he recovered hundreds of apartments from tenants,

which enabled Defendants to dramatically increase the rents that they collected for those

properties.

          19.   The bulk of Plaintiff Goldman’s work comprised representing Defendant SGI’s

properties. Each of these buildings is set up as an individual limited liability company. Defendant

SGI is the sole entity empowered to make management decisions affecting the subject properties.

Defendant SGI also asserts full financial control over the properties.




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       20.     Regardless of the entity Plaintiff represented in any given case, Defendant

Goldman, in her capacity as owner and operator of Defendant SGI, controlled decision-making

on every level. If Plaintiff, based on his four decades of experience, saw that it was financially

beneficial to settle a case on certain terms, he could not make that decision without clearing it

with Defendant Goldman. Even Ms. Brener, his direct supervisor could not make final decisions,

and would often direct him to Defendant Goldman for approvals. Even while Defendants’ many

hundreds of properties were represented by a team of in-house attorneys, Defendant Goldman

directly controlled how litigation proceeded on behalf of the Corporate Defendants – whether

and on what terms to settle, whether to appeal.

       21.     Upon information and belief, Defendant Solil is a company with no revenue that

is purely set up to handle payroll for Defendant SGI’s employees and each of its subsidiaries’

employees. Defendant Solil also pays for the expenditures connected with Defendant SGI’s

properties.

       22.     Ultimately, it seems, Defendant Goldman was such a micro-manager of the

Corporate Defendants’ affairs that she wanted to have their employees in the office, even during

a deadly pandemic.

       23.     During Plaintiff Goldman’s lengthy tenure with Defendants, he was one of

Defendants’ most successful and versatile in-house attorneys. However, Plaintiff Goldman’s

successes in court could not overcome the blatant bias Defendants’ have for individuals with

disabilities and older employees.

       24.     In early March, the novel coronavirus disease, referred to as “Covid-19,” began to

wreak havoc on New York City.




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           25.   On or about March 9, 2020, Defendants recommended certain safety restrictions

for its employees in response to the risks posed by the swift spread of Covid-19.

           26.   Beginning March 17, 2020, Defendants instructed Plaintiff, and the rest of

Defendants’ legal staff, to work from home. Unbeknownst to Plaintiff, an individual in his

building had already tested positive for Covid-19 as of March 10, 2020.

           27.   Defendants provided Plaintiff with a computer, and Plaintiff Goldman continued

to fulfill all of his duties from home.

           28.   Within a week of Plaintiff starting to work from home, the New York State Court

Unified Court System shut down nearly all in-person functions as a result of Covid-19. And, by

April of 2020, the New York State Court Unified Court System made almost all of its functions

virtual.

           29.   Working remotely became the norm and a lifesaving precaution for many of New

York City’s employees, including Plaintiff. By April, nearly 170 New York State Court

employees who continued showing up for work contracted Covid-19; and four employees –

including three judges and a clerk – succumbed to the virus.

           30.   The threat of Covid-19 is particularly dangerous for Plaintiff Goldman.

           31.   In addition to the Covid-19 related risks resulting from Plaintiff’s age, he has

many underlying conditions that doctors and experts agree cause people to be particularly

susceptible to Covid-19 and much more likely to die as a result of catching the virus.

           32.   Because of Plaintiff’s underlying conditions, including his age and ongoing

symptoms caused by his proximity to the September 11, 2001 terrorist attack on the World Trade

Center, Plaintiff’s doctor advised him to continue to work from home and take strict measures to

avoid exposure to the virus.




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       33.     As a result, Plaintiff Goldman stopped going to stores, stopped worshipping at his

synagogue, and even stopped having in-person visits with his two daughters who are physicians

themselves. Although difficult and isolating for Plaintiff Goldman, these precautions meant the

difference between his health and contracting a potentially fatal illness.

       34.     From home, Plaintiff Goldman continued to move Defendants’ cases forward.

Plaintiff drafted agreements between Defendants and tenants that saved Defendants tens of

thousands of dollars. Plaintiff was able to address at least 15 cases, most of which had been

initiated by attorneys who had since left Defendants’ employ, in an effort to resolve them.

       35.     Plaintiff Goldman also continued motion practice in Defendants’ cases and

correspondence with attorneys and tenants in connection with Defendants’ multitude properties.

       36.     In mid-June 2020, the New York State Court Unified Court System continued to

require that all case filings be submitted online and continued to conduct most proceedings

virtually. Regardless, Defendant Jane Goldman decided she wanted her legal staff to return to

work in the office located at 1185 6th Avenue, New York, New York by June 22, 2020.

       37.     Out of all the tenants in the 50-story building where Plaintiff worked, Defendants

are one of the only tenants requiring employees to return to work in person.

       38.     In response to Defendant Jane Goldman’s demand that her legal staff return to the

office, Plaintiff Goldman submitted a letter from his doctor on June 17, 2020, stating that he

should not return to the office or court because of his many risk factors. Plaintiff Goldman

clearly needed this accommodation to protect himself from exposure to the increasingly

widespread coronavirus.

       39.     At that time, State court proceedings remained primarily virtual, and Plaintiff

Goldman had been successfully litigating and meeting with judges, court staff and opposing




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counsel via Skype since March 2020. Thus, Plaintiff Goldman’s request to continue working

from home was certainly reasonable.

        40.    Even now, as of the date of this Amended Complaint, the housing court in New

York City remains closed to in-person appearances for the majority of its proceedings and has

expanded its virtual operations.

        41.    However, Plaintiff’s supervisor, Judith Brener, inexplicably protested Plaintiff’s

doctor’s instructions, writing in an email, “You are our court attorney!!!!! Help!”

        42.    Despite Ms. Brener’s frustration, Plaintiff Goldman continued to work from home

pursuant to his doctor’s advice. In fact, the following day, on or about June 19, 2020, Plaintiff

filed a complex post trial memorandum of law on Defendants’ behalf.

        43.    On June 24, 2020 Defendant Jane Goldman called Plaintiff and insisted that

Plaintiff needed to return to the office and also resume physical appearances in court. Strangely,

Defendant Jane Goldman made this demand at a time when the housing court was still holding

all proceedings remotely and physical appearances were just a hypothetical and future

possibility.

        44.    When Plaintiff refused to put his life in danger, Defendant Jane Goldman told

Plaintiff he should just retire. Moments later, Defendant Jane Goldman terminated Plaintiff based

on his (actual and/or perceived) disability and in retaliation for his request for a reasonable

accommodation.

        45.    Defendant Jane Goldman told Plaintiff that she was furloughing him until he

could physically go to court. In fact, Defendant Jane Goldman terminated Plaintiff that day.

Within an hour, Defendants suspended Plaintiff’s remote computer and cell phone access.

Defendants also cancelled Plaintiff’s health insurance coverage immediately.




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       46.     Plaintiff was two days shy of his 20-year anniversary with Defendants.

       47.     After 20 years of service, Defendants left Plaintiff without his regular income and

with no health insurance overnight – in the midst of Covid-19. Defendants did not even offer to

pay Plaintiff for the 20 or more days of unused vacation and sick leave he had accumulated.

       48.     As a result of his sudden unlawful termination, Defendants left Plaintiff without

any health insurance immediately upon his termination. Plaintiff had to cancel critical doctors’

appointments and restrict his activities even more severely in order to reduce his risk of exposure

to Covid-19 or any other health hazard.

       49.     Plaintiff’s termination wasn’t the first time Defendant Jane Goldman showed her

disdain for employees she perceived as old and disabled.

       50.     For example, in or about 2012, Plaintiff Goldman experienced symptoms that

were initially suspected as being caused by cancer. When Plaintiff Goldman requested sick leave

from Defendant Jane Goldman, she responded, “If you’re sick, leave!” Defendant Jane

Goldman’s intention was clear then, just as it was in June – if Plaintiff is in any way sick or

disabled, she wants him out of his job.

       51.     In addition, approximately one year ago, when Defendants’ General Counsel, Ms.

Brener, wanted to criticize Plaintiff’s work, she also told him that he’s “too old” and then

mockingly impersonated an elderly person talking.

       52.     On June 25, 2020, Defendants circulated an email to all of Plaintiff Goldman’s

colleagues announcing that Plaintiff had retired as of the previous day.

       53.     Since Plaintiff’s unlawful termination, one of Plaintiff Goldman’s coworkers,

who had been working in the office, tested positive for Covid-19 despite being asymptomatic.




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Had Plaintiff agreed to return to the office, his likely interactions with this colleague may have

proven fatal.

       54.      Further, Defendants’ requirement that employees appear in court and come into

the office has not been applied in the same way to younger employees. To date, at least one other

employee, someone in their 30s, is now permitted to work from home.

       55.      In addition, Defendants replaced Plaintiff with another employee that is

significantly younger than Plaintiff (mid 30s).

       56.      Plaintiff Goldman has suffered enormous damage to his professional reputation

and has endured a debilitating amount of stress from this discriminatory termination and the

devastating effects of losing the security of his health care coverage during an international

pandemic.

       57.      Plaintiff filed a charge with the Equal Employment Opportunity Commission

(“EEOC”) on September 25, 2020, over 60 days prior to the date of filing this Amended

Complaint.

                               FIRST CLAIM FOR RELIEF
         Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. §§ 621 et seq.
                                   Age Discrimination

       58.      Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

       59.      In violation of the ADEA, Defendants intentionally discriminated against Plaintiff

on the basis of his age.

       60.      As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial monetary damages, including, but not limited to,

loss of income, including past and future salary.




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       61.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to

emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

       62.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to lost wages and damages for emotional distress, physical

injuries, and medical treatment, and such other legal and equitable relief as this Court deems just

and proper.

                          SECOND CLAIM FOR RELIEF
              New York State Human Rights Law – N.Y. Exec. Law §§ 290 et seq.
                             Age and Disability Discrimination

       63.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

       64.     In violation of NYSHRL, Defendants intentionally discriminated against Plaintiff

on the basis of his age and perceived disability.

       65.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial monetary damages, including, but not limited to,

loss of income, including past and future salary.

       66.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages, including, but not limited to

emotional distress, physical pain and suffering, damage to Plaintiff’s good name and reputation,

lasting embarrassment, and humiliation.

       67.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to lost wages and damages for emotional distress, physical



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injuries, and medical treatment, and such other legal and equitable relief as this Court deems just

and proper.

                              THIRD CLAIM FOR RELIEF
           New York State Human Rights Law – N.Y. Exec. Law §§ 290 et seq.
                                         Retaliation
       68.  Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

       69.     In violation of the NYSHRL, Defendants retaliated against Plaintiff for his

requesting an accommodation.

       70.     Defendants’ retaliation was sufficiently severe so as to affect the terms of

Plaintiff’s employment.

       71.     Defendants’ conduct was outrageous and malicious, was intended to injure, and

was done with reckless indifference to Plaintiff’s statutorily-protected civil rights.

       72.     As a direct and proximate consequence of Defendants’ retaliation against

Plaintiff, he has suffered, and continues to suffer, substantial monetary and non-monetary

damages, including, but not limited to, emotional distress, physical pain and suffering, damage to

Plaintiff’s good name and reputation, lasting embarrassment, humiliation and anguish.

       73.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to: damages for lost wages, emotional distress, punitive

damages, post-judgment interest, attorneys’ fees and costs, and such other legal and equitable

relief as the Court deems just and proper.


                              FOURTH CLAIM FOR RELIEF
                     New York City Human Rights Law (“NYCHRL”)
              N.Y. Admin. L. §§8-101 et seq. – Age and Disability Discrimination




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        74.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

        75.     A copy of this Amended Complaint will be delivered to the New York City

Corporation Counsel.

        76.     In violation of the NYCHRL, Defendants discriminated against Plaintiff on the

basis of his age and perceived disability.

        77.     As a direct and proximate result of Defendants’ discrimination against Plaintiff,

he has suffered, and continues to suffer, substantial monetary damages, including, but not limited

to, loss of income, including past and future salary.

        78.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has

suffered, and continues to suffer, substantial non-monetary damages to Plaintiff’s good name and

reputation, lasting embarrassment, and humiliation.

        79.     Defendants’ conduct is malicious, intended to injure and was done with reckless

indifference to Plaintiff’s statutorily-protected civil rights.

        80.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to lost wages, damages for emotional distress, physical

injuries, and medical treatment; punitive damages; attorneys’ fees and costs; and such other legal

and equitable relief as this Court deems just and proper.

                               FIFTH CLAIM FOR RELIEF
              NYCHRL Violations, N.Y. Admin. Code §§ 8-107(7) – Retaliation

        81.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

they were set forth again herein.

        82.     In violation of NYCHRL, Defendants retaliated against Plaintiff for requesting an

accommodation.



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       83.     As a direct and proximate consequence of Defendants’ retaliation against

Plaintiff, Plaintiff suffered, and continues to suffer, substantial monetary damages, including, but

not limited to, a loss of income and employment benefits.

       84.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to compensatory

damages, including but not limited to backpay, lost employment benefits, as well as front pay,

liquidated damages, post-judgment interest, attorneys’ fees and costs, and such other legal and

equitable relief as this Court deems just and proper.



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief as follows:

       A.      An award of damages, according to proof, including, back pay, front pay,

               compensatory damages, emotional distress damages, liquidated damages, and

               punitive damages, to be paid by Defendants;

       B.      Penalties available under applicable laws;

       C.      Costs of action incurred herein, including expert fees;

       D.      Attorneys’ fees;

       E.      Pre-judgment and post-judgment interest, as provided by law; and

       F.      Such other and further legal and equitable relief as this Court deems necessary,

               just and proper.




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Dated: New York, New York             Respectfully submitted,
       December 3, 2020
                                      JOSEPH & KIRSCHENBAUM LLP


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                                      Attorneys for Plaintiff




                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which he has a right to jury trial.




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